Case 3:17-cv-00072-NKM-JCH Document 1156 Filed 10/04/21 Page 1 of 17 Pageid#:
                                  19832
Case 3:17-cv-00072-NKM-JCH Document 1156 Filed 10/04/21 Page 2 of 17 Pageid#:
                                  19833
Case 3:17-cv-00072-NKM-JCH Document 1156 Filed 10/04/21 Page 3 of 17 Pageid#:
                                  19834
Case 3:17-cv-00072-NKM-JCH Document 1156 Filed 10/04/21 Page 4 of 17 Pageid#:
                                  19835
072-NKM-JCH Document 1156 Filed 10/04/21 Page
                   19836
Case 3:17-cv-00072-NKM-JCH Document 1156 Filed 10/04/21 Page 6 of 17 Pageid#:
                                  19837
Case 3:17-cv-00072-NKM-JCH Document 1156 Filed 10/04/21 Page 7 of 17 Pageid#:
                                  19838
Case 3:17-cv-00072-NKM-JCH Document 1156 Filed 10/04/21 Page 8 of 17 Pageid#:
                                  19839
Case 3:17-cv-00072-NKM-JCH Document 1156 Filed 10/04/21 Page 9 of 17 Pageid#:
                                  19840
Case 3:17-cv-00072-NKM-JCH Document 1156 Filed 10/04/21 Page 10 of 17 Pageid#:
                                  19841
Case 3:17-cv-00072-NKM-JCH Document 1156 Filed 10/04/21 Page 11 of 17 Pageid#:
                                  19842
Case 3:17-cv-00072-NKM-JCH Document 1156 Filed 10/04/21 Page 12 of 17 Pageid#:
                                  19843
Case 3:17-cv-00072-NKM-JCH Document 1156 Filed 10/04/21 Page 13 of 17 Pageid#:
                                  19844
Case 3:17-cv-00072-NKM-JCH Document 1156 Filed 10/04/21 Page 14 of 17 Pageid#:
                                  19845
Case 3:17-cv-00072-NKM-JCH Document 1156 Filed 10/04/21 Page 15 of 17 Pageid#:
                                  19846
Case 3:17-cv-00072-NKM-JCH Document 1156 Filed 10/04/21 Page 16 of 17 Pageid#:
                                  19847
Case 3:17-cv-00072-NKM-JCH Document 1156 Filed 10/04/21 Page 17 of 17 Pageid#:
                                  19848
